8:16-cv-00050-MGL           Date Filed 01/07/16      Entry Number 1          Page 1 of 5




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA
                            ANDERSON DIVISION



 KEVIN BABCOCK
                                                C/A # 8:16-cv-00050-MGL
                                 Plaintiff,
                                                            COMPLAINT
 vs.

                                                         (Jury Trial Requested)
 WORLD ACCEPTANCE
 CORPORATION

                               Defendant.




       Plaintiff, complaining of the Defendant above-named, would show this Court as

follows:

                                   JURISDICTION

  1.   The State of Residence of Plaintiff is the State of South Carolina.

  2.   The Defendant World Acceptance Corporation is a South Carolina corporation

       with its principal place of business, “nerve center” and headquarters in the County

       of Greenville, South Carolina.

  3.   This Court has jurisdiction over the parties and subject matter of this action under
       28 U.S.C. § 1331 (federal question) because this action arises under the laws of

       the United States.

                             FACTUAL ALLEGATIONS

  4.   Defendant World Acceptance is a maker of subprime, supervised, and/or

       restricted loans with offices throughout South Carolina.

  5.   Plaintiff does not owe World Acceptance any debt.
8:16-cv-00050-MGL         Date Filed 01/07/16       Entry Number 1          Page 2 of 5




 6.   In or around August of 2015 Defendant began contacting Plaintiff on his cell

      phone repeatedly to collect a debt owed by “Heather Gill.”

 7.   In the above calls, Defendant represented that it was “urgent” that they talk to

      Ms. Gill.

 8.   Upon information and belief, Defendant was attempting to collect a debt it

      asserted was owed by Ms. Gill.

 9.   Plaintiff is unrelated to Heather Gill, has no relationship to her, and no knowledge

      of the whereabouts of the person; upon information and belief, Defendant had the
      wrong number.

 10. Plaintiff repeatedly advised Defendant of the foregoing; nevertheless,

      Defendant’s automated telephone dialer repeatedly contacted Plaintiff’s cell

      phone, forcing him to engage in the above futile exercise repeatedly.

 11. Defendant’s conduct violates federal law, including but not limited to the

      Telephone Consumer Protection Act. Defendant’s conduct further violates the

      South Carolina Consumer Protection Code and South Carolina Unfair Trade

      Practices Act.

 12. As a direct and proximate result of the Defendant’s illegal acts, Plaintiff has been

      damaged.

                        FOR A FIRST CAUSE OF ACTION

                                 (Violations of TCPA)

 13. The allegations contained hereinabove are repeated as if fully alleged herein

      verbatim, to the extent not inconsistent with this cause of action.

 14. Defendant’s telephonic activities are governed, in part, by the Telephone

      Consumer Protection Act, 47 USC 227; 47 CFR 64.1200.

 15. Plaintiff never provided Defendant with consent to contact his cell phone.

 16. Plaintiff expresly advised Defendant upon its first call he did not wish to be

      called on his cell phone, and that the Defendant had the wrong number.
8:16-cv-00050-MGL         Date Filed 01/07/16       Entry Number 1          Page 3 of 5




 17. Every call made by the Defendant following the first call was made with

      actual notice that Defendant was contacting Plaintiff, who had not given

      consent to be called (and had expressly revoked any consent which might

      otherwise have existed).

 18. Plaintiff is informed that Defendant thereafter continued to contact Plaintiff

      on his cellular telephone, with an automated dialing system or otherwise.

 19. Plaintiff is informed and believes that Defendant committed the above

      violations multiple times, and that said violations were willful.
 20. Plaintiff is informed and believes that he is entitled to recover $1,500.00 per

      violation, plus such other damages, penalties, attorney’s fees and costs as

      allowed by law.

 21. Plaintiff is further entitled to, and requests, injunctive relief requiring

      Defendant to cease and desist any further calling activity, and to award a

      penalty in the amount of $1,500.00 per such violation, plus fees, costs, and

      such other relief as is just and proper.



                      FOR A SECOND CAUSE OF ACTION

                  (Unconscionable Conduct; S.C. Code 37-5-108)

 22. The allegations contained hereinabove are repeated as if fully alleged herein

      verbatim, to the extent not inconsistent with the allegations of this cause of

      action.

 23. The transaction upon which Defendant called Plaintiff was, upon information

      and belief, a consumer transaction.

 24. Upon information and belief, the Defendant engaged in unconscionable

      conduct in these particulars and such others to be proven at trial:

          a. communicated with Plaintiff at frequent intervals;
8:16-cv-00050-MGL           Date Filed 01/07/16     Entry Number 1           Page 4 of 5




           b. caused a telephone to ring repeatedly during a twenty-four hour

                 period or engaged in telephone conversations with intent to annoy,

                 abuse, and harass;

  25. Judgment should be granted to Plaintiff for actual damages and such penalties

       and attorney fees as authorized by statute, and such other relief as is just and

       proper.


                         FOR A THIRD CAUSE OF ACTION

                                (Unfair Trade Practices)
  26. The allegations contained hereinabove are repeated as if fully alleged herein

       verbatim, to the extent not inconsistent with this cause of action.

  27. The activities of the Defendant constitute “trade or commerce” as defined by

       South Carolina Code Section 39-5-10, et.seq., (as amended).

  28. The actions of the Defendant, above-described, constitute unfair and

       deceptive acts and practices in the conduct of trade and commerce, as

       prohibited by the South Carolina Unfair Trade Practices Act, 39-5-10 et.seq.,

       and are willful violations thereof.

  29. The actions of the Defendant have a real and substantial potential for

       repetition and affect the public interest.

  30. The Plaintiff has suffered an ascertainable loss due to the unlawful actions of

       the Defendant, entitling Plaintiff to recover actual damages in an amount to

       be proven at trial, treble said actual damages, and an award of attorney’s fees

       and costs.

                               PRAYER FOR RELIEF

       WHEREFORE, the prayer of the Plaintiff is for judgment in an amount

sufficient to compensate Plaintiff for actual damages, together with punitive

damages, statutory damages, such interest as is allowable by law, costs, attorney’s
8:16-cv-00050-MGL           Date Filed 01/07/16      Entry Number 1    Page 5 of 5




fees, and such other relief as is just and proper.



                                       DAVE MAXFIELD, ATTORNEY, LLC

                                       By:      s/ Dave Maxfield
                                               David A. Maxfield, FED ID # 6293
                                               5217 N. Trenholm Road, Suite B
                                               Columbia, SC 29206
                                               803-509-6800

Dated: January 7, 2016

Anderson, South Carolina
